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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8   HUMAN RIGHTS DEFENSE CENTER, a                   )
     Washington nonprofit corporation,                )
 9                                                    )    No.
                               Plaintiff,             )
10                                                    )    COMPLAINT FOR DECLARATORY
            v.                                        )    AND INJUNCTIVE RELIEF FOR
11                                                    )    VIOLATION OF THE FREEDOM OF
     UNITED STATES DEPARTMENT OF                      )    INFORMATION ACT, 5 U.S.C. § 552
12   JUSTICE; and its component, DRUG                 )
     ENFORCEMENT ADMINISTRATION,                      )
13                                                    )
                               Defendants.            )
14                                                    )
                                                      )
15

16          Plaintiff Human Rights Defense Center respectfully submits this Complaint for

17   declaratory and injunctive relief finding the U.S. Department of Justice and the Drug

18   Enforcement Administration have violated their legal obligations under the Freedom of

19   Information Act (“FOIA”), 5 U.S.C. § 552 et seq., and ordering them to comply with those

20   obligations.

21                                      I.     INTRODUCTION

22          1.      In May 2019, Human Rights Defense Center (“HRDC”) submitted a written

23   request under the FOIA for records held by Defendant Drug Enforcement Administration, a law


                                                                              Davis Wright Tremaine LLP
                                                                                       L AW O FFICE S
                                                                                 920 Fifth Avenue, Suite 3300
     COMPLAINT - 1                                                                 Seattle, WA 98104-1610
                                                                            206.622.3150 main · 206.757.7700 fax
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 1   enforcement component of the U.S. Department of Justice (collectively, “DEA” or

 2   “Defendants”). The requested records concerned DEA’s settlement payments to resolve claims

 3   against the Agency and its employees. After DEA objected to the scope of the records request,

 4   HRDC revised its request to accommodate DEA’s purported difficulties in searching for the

 5   requested records. To date, however, DEA has utterly failed its obligations under the FOIA to

 6   provide the public records that HRDC seeks. HRDC requests that this Court order DEA to

 7   comply; enjoin DEA from further neglecting its duties under federal law; and reimburse HRDC

 8   the legal fees and costs it has incurred in this action.

 9                                            II.     PARTIES

10           2.      Plaintiff HRDC is a nonprofit charitable organization incorporated under the

11   laws of the State of Washington and recognized as tax exempt under IRS Code § 501(c)(3).

12   The core of HRDC’s mission is public education, prisoner education, advocacy, and outreach in

13   support of the rights of prisoners and in furtherance of basic human rights. Among other

14   publications, HRDC distributes the preeminent news publication across penological institutions

15   in the United States: Prison Legal News (“PLN”).

16           3.      Defendant United States Department of Justice (“DOJ”) is the Department

17   responsible for the enforcement of federal law. DEA is one of its component agencies.

18           4.      Defendant Drug Enforcement Administration (“DEA”) is the lead federal

19   agency responsible for domestic enforcement of the Controlled Substances Act and other

20   federal laws related to manufacturing, smuggling, and distribution of narcotics.

21                                II.     JURISDICTION AND VENUE

22           5.      This Court has jurisdiction pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C.

23   § 1331.


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 1           6.       Venue lies properly in this Court pursuant to 5 U.S.C. § 552(a)(4)(B) because

 2   HRDC is incorporated and resides in this judicial district. Furthermore, venue is proper under

 3   28 U.S.C. § 1391 because HRDC’s requests and communications were sent from Seattle,

 4   Washington, and therefore, a substantial part of the events giving rise to the claim occurred in

 5   this judicial district.

 6                                 III.    FACTUAL BACKGROUND

 7           7.       HRDC currently distributes dozens of different criminal justice, legal and self-

 8   help titles, including its prolific monthly periodical that reports and analyzes criminal justice

 9   news on a national level: PLN. Produced continuously since 1990, the publication has

10   approximately 5,000 subscribers in 50 states, including lawyers, journalists, judges, courts,

11   public libraries, and universities. Surveys indicate that PLN’s readership is approximately ten

12   times the subscriber number. HRDC also maintains a listserv and a website at

13   www.prisonlegalnews.org, which receives approximately 100,000 visitors per month,

14   according to site analytics. HRDC publishes books about the criminal justice system and legal

15   issues for use by prisoners, lawyers, courts, libraries, and other members of the general public.

16           8.       HRDC also publishes Criminal Legal News (“CLN”), a monthly 56-page

17   magazine that reports on criminal law and procedure, police civil rights litigation, policing,

18   prosecutorial misconduct, sentencing issues and mass incarceration. CLN currently has

19   approximately 1,400 subscribers in all 50 states and its website, www.criminallegalnews.org,

20   receives tens of thousands of visitors each month.

21           9.       HRDC, through its publications, is a “representative of the news media” within

22   the meaning of 5 U.S.C. § 552(a)(4)(A)(ii) because it gathers information of current interest to

23


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 1   the public, uses its editorial skills to turn the raw materials into a distinct work, and distributes

 2   that work to an audience through its various publications.

 3           10.     HRDC’s employees, publications, and advocacy activities (including its

 4   litigation) have been widely cited in mainstream media sources, including The New York

 5   Times, CNN, The Wall Street Journal, USA Today, The Nation, BusinessWeek, Mother Jones,

 6   the Miami Herald, the National Law Journal, The Atlanta Journal Constitution, The

 7   Sacramento Bee, the Boston Herald, The Washington Times, Columbia Journalism Review,

 8   Courthouse News Service, and the First Amendment Center.

 9           11.     HRDC is a 501(c)(3) non-profit corporation that advocates on behalf of the

10   human rights of people held in detention facilities in the United States. The core of HRDC’s

11   mission is public and prisoner education, advocacy, and outreach in support of the rights of

12   prisoners and in furtherance of basic human rights.

13           12.     On May 20, 2019, HRDC’s Public Records Manager in Seattle, Washington

14   submitted a written records request under the FOIA to DEA’s FOIA office. See Exhibit A

15   (FOIA Request 19-00600-F). The request was sent via electronic mail and sought documents

16   concerning “all litigation against the [DEA] and/or its employees or agents where the agency

17   and/or its insurers paid $1,000 or more to resolve claims” from January 2010 to present. Id.

18           13.     The requested records will be used in HRDC’s reporting for the public benefit.

19   The release of the requested records would allow HRDC to continue to produce coverage

20   regarding administration of claims by the federal government, the fiscal impact of the war on

21   drugs, and the prevalence of misconduct at DEA. HRDC does not have a commercial interest

22   in such information and will obtain no commercial benefit therefrom; HRDC is a non-

23   commercial use requester.


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 1          14.     As a news media organization seeking records in the public interest, HRDC

 2   requested a waiver of duplication costs pursuant to 5 U.S.C. § 552 (a)(4)(A)(ii)(II) and 5 U.S.C.

 3   § 552 (a)(4)(A)(iii). See Ex. A.

 4          15.     DEA’s FOIA Chief received the request and responded to HRDC’s request on

 5   June 27, 2019, objecting to HRDC’s request as over burdensome on the grounds that (1) pre-

 6   2012 documents are archived and would need to be manually searched for and (2) DEA has no

 7   method of searching for monetary parameters. See Ex. B.

 8          16.     On July 11, 2019, HRDC responded to DEA’s objections, agreeing to the

 9   production of post-2012 documents only and further offering to “waive the $1,000 threshold

10   from [its] original request.” See Ex. C.

11          17.     Despite HRDC’s offer to revise its request in response to the specific concerns

12   cited by DEA, Defendants again objected on October 21, 2019, claiming that “the information

13   that [HRDC] may be seeking requires more specificity” but not providing any explanation as to

14   why a request for all settlement payments was too broad. See Ex. D.

15          18.     On October 29, 2019, HRDC filed its administrative appeal from DEA’s second

16   objection. See Ex. E.

17          19.     On January 31, 2020, DEA affirmed the denial based on its claim that “[i]n

18   order to conduct a search for responsive records, DEA would have to individually search

19   thousands of litigation files” and that HRDC must further narrow its request. See Ex. F.

20          20.     The FOIA requires any agency that receives a request under its provisions to,

21   within 20 days of receiving the request: (1) determine whether the agency will comply with the

22   request and (2) notify the requester of its determination, its reasoning, and of requesters’ right

23


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 1   to appeal denials. 5 U.S.C. § 552(a)(6)(A)(i). Here, DEA failed to meet its deadline to respond

 2   to HRDC’s original FOIA request.

 3          21.     To date, DEA has not produced a single record in response to either the original

 4   FOIA request or HRDC’s follow-up revised request.

 5                                    IV.     CAUSE OF ACTION

 6                         Violation of Freedom of Information Act (FOIA)

 7                            For Failure to Disclose Responsive Records

 8          22.     Plaintiff alleges and incorporates as set forth fully herein each and every

 9   allegation contained in the above paragraphs.

10          23.     Defendants have violated 5 U.S.C. § 552(a)(3)(A) by failing to promptly release

11   agency records in response to HRDC’s FOIA request, which reasonably described the records

12   sought as detailed above that. Refusal to provide this information is unlawful.

13          24.     Defendants have violated 5 U.S.C. § 552(a)(6)(A) by failing to timely respond

14   to the FOIA request detailed above. Refusal to timely respond to the request is unlawful.

15          25.     Injunctive relief is authorized under 5 U.S.C. §552(a)(4)(B) because Defendants

16   continue to refuse to respond and improperly withholds the requested material, and do so as a

17   matter of policy or practice, in violation of the FOIA. HRDC has suffered injury and will

18   continue to suffer injury from Defendants’ illegal refusal to respond and provide records.

19          26.     Declaratory relief is authorized under 22 U.S.C. § 2201 because an actual

20   controversy exists regarding Defendants’ failure to respond and improper withholding of the

21   records in violation of the FOIA. An actual controversy exists because HRDC contends that

22   Defendants’ continuing failure to respond and to release the records violates the law.

23


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     COMPLAINT - 6                                                                   Seattle, WA 98104-1610
                                                                              206.622.3150 main · 206.757.7700 fax
           Case 2:20-cv-00674-JHC          Document 1       Filed 05/05/20       Page 7 of 26




 1                                      PRAYER FOR RELIEF

 2           WHEREFORE, Plaintiff HRDC requests that judgment be entered in its favor against

 3   the Defendants, and that the Court:

 4           (a)    Declare that Defendants’ failure to disclose responsive records violates the

 5   FOIA;

 6           (b)    Declare unlawful and enjoin Defendants’ practice of failing to comply with their

 7   required duties upon receipt of a properly submitted request under the FOIA;

 8           (c)    Order Defendants and all entities and agents, or other persons acting by,

 9   through, for, or on behalf of Defendants, to conduct a prompt, reasonable search for records

10   responsive to HRDC’s FOIA requests, without imposing search or duplication fees pursuant to

11   5 U.S.C. § 552(a)(4)(A);

12           (d)    Enjoin Defendants and all entities and agents, or other persons acting by,

13   through, for, or on behalf of Defendants, from withholding records responsive to HRDC’s

14   FOIA requests and order them to promptly produce the same;

15           (e)    Award HRDC reasonable attorneys’ fees and costs pursuant to 5 U.S.C.

16   § 552(a)(4)(E) and 28 U.S.C. § 2412; and

17           (f)    Grant all other such relief to HRDC as the Court deems just and equitable.

18           DATED this 5th day of May, 2020.

19                                                By s/ Eric M. Stahl
                                                     Eric M. Stahl, WSBA #27619
20                                                   Caesar Kalinowski, WSBA #52650
                                                     DAVIS WRIGHT TREMAINE LLP
21                                                   920 Fifth Avenue, Suite 3300
                                                     Seattle, WA 98104
22                                                   Tel: 206-622-3150
                                                     Fax: 206-757-7700
23                                                   Email:      ericstahl@dwt.com
                                                                 caesarkalinowski@dwt.com

                                                                               Davis Wright Tremaine LLP
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 1
                                          Daniel Marshall, Pro Hac Vice forthcoming
 2                                        HUMAN RIGHTS DEFENSE CENTER
                                          P.O. Box 1151
 3                                        Lake Worth, FL 33460
                                          Telephone: 561-360-2523
 4                                        Email: dmarshall@humanrightsdefensecenter.
                                          org
 5
                                          Attorneys for Human Rights Defense Center
 6

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                                                                  Davis Wright Tremaine LLP
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                                                                     920 Fifth Avenue, Suite 3300
     COMPLAINT - 8                                                     Seattle, WA 98104-1610
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                                    U.S. DEPARTMENT OF JUSTICE - DRUG ENFORCEMENT ADMINISTRATION


                                                   DEA FOIA REQUEST LETTER


    orcreerrie‘


                                                    Instructions

    •       Please provide a detailed description
    •       If your request is for information concerning a deceased individual, you must provide a
            proof of death. Acceptable forms of proof of death include obituaries, death
            certificates, recognized sources that can be documented, date of birth is 100 years or
            greater, or Social Security Death Index page.
    •       If you wish to include additional specific information, attach another sheet of paper to
            this letter
    •       Options for sending your request, mail to the address listed below, fax to (202) 307-
            8556, or e-mail to DEA.FOIA@usdoj.gov

Date: ______________
      May 20, 2019


DEA
FOI/Records Management Section
ATTN: FOI/PA Unit
8701 Morrisette Drive
Springfield, Virginia 22152

Dear FOIA Officer: ______________

This is a request under the Freedom of Information Act.
Date range of request: ______________
                        1/1/2010-date of processing


Description of request:_____________________________________________________
                        SEE ATTACHED
________________________________________________________________________
I am willing to pay up to $_______
                             100             for the processing of the request. Please inform me if the
estimated fee will exceed this limit before processing my request.
I am seeking information for personal use and not for commercial use.
Thank you for your consideration.

Name: ___________________________________
        Michelle Dillon
Title (Optional):____________________________
                 Public Records Manager
Business (if applicable) ______________________
                           Human Rights Defense Center
Street Address: ____________________________
                 720   3rd Avenue #1605
City/State/ZIP Code _________________________
                       Seattle, WA 98104
Country (if applicable) _______________________
                          USA
Telephone (optional) ________________________
                         206-257-1355
E-mail (optional) ____________________________
                   mdillon@prisonlegalnews.org

____________________________________________________________________________________________________________________
DEA-382 (5-2015)
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IFI
May 20, 2019
                        Human Rights Defense Center
                                  DEDICATED TO PROTECTING HUMAN RIGHTS




Drug Enforcement Administration
Attn: FOI/PA Unit (SARF)
8701 Morrissette Drive
Springfield, VA 22152

Sent via email: DEA.FOIA@usdoj.gov

Re:      FOIA Request for Verdicts and Settlements Information

To the FOIA Officer:

The Human Rights Defense Center (HRDC) makes this request pursuant to the Freedom of
Information Act, 5 U.S.C. § 552, et seq. HRDC is a 501(c)(3) non-profit organization that
publishes two journals and multiple books reporting on prisons, jails and other detention
facilities. HRDC requests a fee waiver for this request. Prior to a name change approved by the
Secretary of State in Washington in 2009, HRDC was known as Prison Legal News.

Documents Requested

HRDC is seeking records of all litigation against the Drug Enforcement Administration (DEA)
and/or its employees or agents where the agency and/or its insurers paid $1,000 or more to
resolve claims. These payments include but are not limited to settlements, damages, attorney fee
awards, and sanctions, irrespective of the identity of the plaintiff or claimant. Specifically,
HRDC requests the following records, provided in electronic native format where possible, and
otherwise in electronic format:

      1. Records, regardless of physical form or characteristics, sufficient to show for all claims
         or lawsuits brought against DEA and/or any of its agents or employees in which
         payments totaling $1,000 or more were disbursed from January 1, 2010 to the present:
         • The name of all parties involved;
         • The case or claim number;
         • The jurisdiction in which the case or claim was brought (e.g., U.S. District Court for
             the District of Columbia, D.C. Superior Court, etc.);
         • The date of resolution;

                          720 3rd Avenue, Suite #1605, Seattle, WA 98104
                          206-257-1355 | mdillon@prisonlegalnews.org
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       •   The amount of money involved in the resolution and to whom it was paid,

   2. For each case or claim detailed above:
      • The complaint or claim form and any amended versions;
      • The verdict form, final judgment, settlement agreement, consent decree, or other
         paper that resolved the case.

Fee Waiver Requested

HRDC requests a waiver of fees under 5 U.S.C. §§ 552(a)(4)(A)(ii)(II) and (iii), as HRDC is a
member of the news media and disclosure of the requested information is in the public interest.
HRDC is the publisher of Prison Legal News and Criminal Legal News, as well as several books
about the criminal justice system and legal issues affecting prisoners. Prison Legal News is a
legal journal that reports news and litigation concerning carceral facilities. PLN covers
corrections news and analysis and criminal justice-related issues on a national level. PLN has
published monthly since 1990 and has approximately 9,000 subscribers in all 50 states. Based on
reader survey results the estimated actual readership is around ten times that number. PLN’s
subscribers include lawyers, journalists, judges, courts, public libraries and universities. PLN
also maintains a website that receives approximately 100,000 visitors per month based on site
analytics. Criminal Legal News is a legal journal. HRDC launched the inaugural issue in
December 2017. CLN reports on criminal law decisions from all 50 states and the federal court
system, focusing on legal developments affecting the fact and duration of confinement and
sentences. CLN also covers civil rights litigation against police, prosecutors and court systems.

Disclosure of this information is “in the public interest because it is likely to contribute
significantly to public understanding of the operations or activities of the government,” as
described in 5 U.S.C. § 552(a)(4)(A)(iii). There is great demand for insight into DEA activities
as evidenced by recently increased media coverage about immigration and DEA as an agency.
Examining specific instances of how government operations are being managed and operated
and how tax dollars are being expended is the hallmark of understanding government.

Regarding an analogous request from the Bureau of Prisons, the court in Prison Legal News v.
Lappin, 436 F. Supp. 2d 17 (D.D.C. 2006), held that Prison Legal News (the previous name of
the requesting corporation) was entitled to a fee waiver.

Response Requested

If this request is denied in whole or part, please provide an index to all denials by reference to
specific exemptions. If any records responsive to this request are denied in part, release all
segregable portions of those records. Additionally, please outline any administrative appeals
process available.

                         720 3rd Avenue, Suite #1605, Seattle, WA 98104
                         206-257-1355 | mdillon@prisonlegalnews.org
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Please contact me via email, mdillon@prisonlegalnews.org, should you require any additional
information. Thank you for your time and attention in this matter.

                                    Sincerely,

                                    HUMAN RIGHTS DEFENSE CENTER



                                      YoJ,
                                    Michelle Dillon
                                    Public Records Manager




                       720 3rd Avenue, Suite #1605, Seattle, WA 98104
                       206-257-1355 | mdillon@prisonlegalnews.org
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                                                            U.S.
                                                            U.S. Department of Justice
                                                            Drug Enforcement Administration
                                                            FOI/Records Management Section
                                                            8701 Morrissette Drive
                                                            Springfield,
                                                            Springfield, Virginia 22152



Case Number:
     Number: 19-00600-F

Subject:
Subject: All litigation against the Drug Enforcement Administration(DEA)
                                                                     (DEA) and/or its employees
or agents where the agency and/or its insurers paid $1,000 or more to resolve claims from
January 1,
         I, 2010 to the present

Michelle Dillon
Human Rights Defense Center
720 Third Avenue,
           Avenue, Suite 1605
Seattle,
Seattle, Washington 98104
mdillon@prisonlegalnews.org

Dear Ms.
     Ms. Dillon:
         Dillon:

       This letter responds to your Freedom of Information Act/Privacy Act(FOIA/PA)
                                             oflnformation                (FOIA/PA) request
dated May 20,
           20, 2019,
               2019, addressed to the Drug Enforcement Administration (DEA),
                                                                       (DEA), FOIA/PA Unit,
                                                                                      Unit,
seeking
seeking access to information regarding the above subject.
                                                  subject.

        To fulfil your request,
                       request, our office forwarded a copy of your request letter to the Office of
Chief Counsel(CCA).
                (CCA). Based upon all available information,
                                                   information, we have determined that CCA is the
DEA component that may have records responsive to the subject of your request.
                                                                             request. Please be
advised,
advised, DEA's electronic tracking system for lawsuits and tort claims is not searchable by the
size of payment or whether a payment was made.
                                             made. In addition,
                                                        addition, electronic data is only available
from mid-2012 to the present.
                       present. In order to obtain the documents requested,
                                                                    requested, each lawsuit and tort
claim electronic file would need to be examined to determine if a payment was made and,   and, if so,
                                                                                                  so,
whether the payment was $1,000 or more.
                                      more.

         Further,
         Further, for records prior to 2012,
                                       2012, every tort claim and lawsuit file would need to be
retrieved from archives and manually searched to determine whether a payment was made and,     and, if
so,
so, whether the payment was $1,000 or more.more. We have determined that a conservative estimate
for an electronic search and a manual search would be 295 hours.
                                                               hours. For these reasons,
                                                                                 reasons, your request
would require DEA to conduct an unreasonably burdensome search.  search. As provided by 28 C.F.R.
                                                                                             C.F.R. §
                                                                                                    §
16.3(b),
16.3(b ), this letter affords you the opportunity to reformulate your request by narrowing the scope
of your request or specifying a particular claim or lawsuit that you desire.
                                                                       desire.
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Case Number:
     Number: 19-00600-F                                                               Page 2

       To this end,
               end, no further action will be initiated on this request until we are in receipt of a
reasonable description of records sought.
                       ofrecords  sought. If this office does not receive your response within 30
days,
days, DEA will assume that you do not wish to pursue this matter and your request will be
administratively closed.
                 closed. Please forward your response to the following address:
                                                                           address:

               DEA Headquarters
               Attn:
               Attn: FOIA/PA Unit(SARF)
                                   (SARF)
               8701 Morrissette Drive
               Springfield,
               Springfield, VA 22152

        You may contact our FOIA Public Liaison at 202-307-7596 for any further assistance and
to discuss any aspect of your request.
                              request. Additionally,
                                       Additionally, you may contact the Office of Government
Information Services(OGIS)
                      (OGIS) at the National Archives and Records Administration to inquire
about the FOIA mediation services they offer.
                                         offer. The contact information for OGIS is as follows:
                                                                                       follows:
Office
Office of
       of Government Information Services,
                                    Services, National Archives and Records Administration,
                                                                             Administration,
Room 2510,
       2510, 8601 Adelphi Road,
                            Road, College Park,
                                           Park, Maryland 20740-6001;
                                                           20740-6001; e-mail at ogis@nara.gov;
                                                                                 ogis@nara.gov;
telephone at 202-741-5770;
             202-741-5770; toll free at 1-877-684-6448;
                                        1-877-684-6448; or facsimile at 202-741-5769.
                                                                        202-741-5769.

        If you are not satisfied with my response to this request,
                                                           request, you may administratively appeal
by writing to the Director,
                   Director, Office of Information Policy (OIP),
                                    oflnformation           (OIP), United States Department of
Justice,
Justice, Suite 11050,
               11050, 1425 New York Avenue,
                                         Avenue, NW,
                                                 NW, Washington,
                                                       Washington, DC 20530-0001,
                                                                          20530-0001, or you may
submit an appeal through OIP's FOIAonline portal by creating an account on the following
website:
website: https://www.foiaonline.gov/foiaonline/action/public/home.
          https://www.foiaonline.gov/foiaonline/action/public/home. Your appeal must be
postmarked or electronically transmitted within 90 days of the date of my response to your
request.
request. If you submit your appeal by mail,
                                         mail, both the letter and the envelope should be clearly
marked "Freedom of Information Act Appeal."

       If you have any questions regarding this letter,
                                                letter, you may contact Government Information
Specialist J.
           J. Kewley at 202-307-7728.
                        202-307-7728.

                                              Sincerely,
                                              Sincerely,



                                                                          oexlvc-k
                                              Angela D.
                                                     D. Hertel,
                                                        Hertel, Acting Chief
                                              Freedom of Information/Privacy Act Unit
                                                      oflnformation/Privacy
                                              FOI/Records Management Section
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Michelle Dillon

From:                                  Michelle Dillon
Sent:                                  Thursday, July 11, 2019 3:47 PM
To:                                    Kewley, John W.
Subject:                               RE: DEA FOIA Request 19-00600-F


Dear Mr. Kewley,

After review of the letter we agree to production of documents from 2012 or later. If it would expedite the process to
eliminate the burden of determining the payment amount, we also will waive the $1,000 threshold from our original
request and request documents for all relevant cases and we can review them ourselves to determine applicability for
the level of payment, provided that DEA agrees to our request for a fee waiver.

Best,
Michelle Dillon

From: Kewley, John W. [mailto:John.W.Kewley@usdoj.gov]
Sent: Thursday, June 27, 2019 11:25 AM
To: Michelle Dillon <mdillon@prisonlegalnews.org>
Subject: DEA FOIA Request 19‐00600‐F

Ms. Dillon,

Please find attached above the Drug Enforcement Administration response to your FOIA
request 19-00600-F.




John W. Kewley
Government Information Specialist
Headquarters, Drug Enforcement Administration
Freedom of Information/Privacy Unit (SARF)
Telephone: (202) 307-7728
john.w.kewley@usdoj.gov




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                                                            U.S.
                                                            U.S. Department of Justice
                                                            Drug Enforcement Administration
                                                            FOI/Records
                                                            FOi/Records Management Section
                                                            8701
                                                            870 I Morrissette Drive
                                                            Springfield,
                                                            Springfield, Virginia 22152



Case Number:
     Number: 19-00600-F                                                          OCT 2 11 2019
Subject:
Subject: All litigation against the Drug Enforcement Administration(DEA)
                                                                     (DEA) and/or its employees
or agents where the agency and/or its insurers paid $1,000 or more to resolve claims from January
1,
I, 2010
   20 I 0 to the present

Michelle Dillon
Human Rights Defense Center
720 Third Avenue,
           Avenue, Suite #1605
Seattle,
Seattle, Washington 98104
mdillon@prisonlegalnews.org

Dear Ms.
     Ms. Dillon:
         Dillon:

       This letter responds to your Freedom of Information Act/Privacy Act(FOIA/PA)
                                                                             (FOIA/PA) request
dated May 20,
           20, 2019,
               2019, addressed to the Drug Enforcement Administration (DEA),
                                                                         (DEA), Freedom of
Information/Privacy Act Unit,
                         Unit, seeking access to information regarding the above subject.
                                                                                 subject.

                                       written, received via electronic mail on July 11,
        Your reformulated request as written,                                           11, 2019,
                                                                                            2019, does
not meet the requirements of the FOIA,
                                   FOIA, 5 U.S.C.
                                            U.S.C. §§ 552 (a)(3)(A),
                                                           (a)(3)(A), since it does not reasonably
describe records.
         records. The Department of Justice rules,
                                                rules, contained at 28 C.F.R.
                                                                       C.F.R. § § 16.3,
                                                                                  16.3, provide that
"you must describe the records in enough detail to enable department personnel to locate them
with a reasonable amount of effort." DEA can make certain presumptions to overcome some of
the deficiencies in your request,
                         request, but not all of them.
                                                 them.

       To retrieve the information that you may be seeking requires more specificity.
                                                                          specificity. We have
applied your time frame revision from 2010 - present to the period from 2012 to the present.
                                                                                      present. WeWe
have recomputed the search time required and determined a conservative time search estimate to
       hours. The DEA office tasked to conduct a search of this length for files of any responsive
be 250 hours.                                                                            responsive
records pertaining to the subject of your request would be burdened.    such, your request
                                                           burdened. As such,        request is
                                                                                              is
overly broad and burdensome.
                  burdensome.

               end, no further action will be initiated on this request until we are in receipt
       To this end,                                                                     receipt of
                                                                                                of aa
reasonable description of         sought. If this office does not receive your
                          records sought.
                       ofrecords                                            your reformulated
                                                                                 reformulated request
                                                                                                request
          days, DEA will assume that you do not wish to pursue this
within 30 days,                                                     this matter
                                                                         matter and
                                                                                and your  request will
                                                                                     your request  will
                                                                               address:
                    closed. Please forward your response to the following address:
be administratively closed.

               DEA Headquarters
               Attn: FOIA/PA Unit(FSRF)
               Attn:               (FSRF)
                                Drive
               8701 Morrissette Drive
               Springfield, VA 22152
               Springfield,    22152
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Case Number:
     Number: 19-00600-F                                                            Page 2

        You may contact our FOIA Public Liaison at 202-307-7596 for any further assistance and
to discuss any aspect of your request.
                              request. Additionally,
                                       Additionally, you may contact the Office of Government
Information Services(OGIS)
                      (OGIS) at the National Archives and Records Administration to inquire
about the FOIA mediation services they offer.
                                         offer. The contact information for OGIS is as follows:
                                                                                       follows:
Office of Government Information Services,
                                    Services, National Archives and Records Administration,
                                                                             Administration,
Room 2510,
       2510, 8601 Adelphi Road,
                            Road, College Park,
                                           Park, Maryland 20740-6001;
                                                           20740-6001; e-mail at ogis@nara.gov;
                                                                                 ogis@nara.gov;
telephone at 202-741-5770;
             202-741-5770; toll free at 1-877-684-6448;
                                        1-877-684-6448; or facsimile at 202-741-5769.
                                                                        202-741-5769.

        If you are not satisfied with my response to this request,
                                                          request, you may administratively appeal
by writing to the Director,
                  Director, Office of  Information Policy (01P),
                                    oflnformation         (OIP), United States Department of
Justice,
Justice, Sixth Floor,
               Floor, 441 G Street,
                             Street, NW,
                                     NW, Washington,
                                          Washington, DC 20530-0001,
                                                            20530-0001, or you may submit an
appeal through OIP's FOIAonline portal by creating an account on the following website:
                                                                                   website:
https://www.foiaonline.gov/foiaonline/action/public/home.
https://www.foiaonline.gov/foiaonlinc/action/public/home. Your appeal must be postmarked or
electronically transmitted within 90 days of the date of my response to your request.
                                                                              request. If you submit
your appeal by mail,
                mail, both the letter and the envelope should be clearly marked "Freedom of
Information Act Appeal."

        If you have any questions regarding this letter,
                                                 letter, you may contact Government Information
Specialist J.
            J. Kewley at 202-307-7728.
                         202-307-7728.

                                             Sincerely,
                                             Sincerely,


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                                                   f



                                                --~nc) e__,Ll~ CJ. ~ k,(_
                                             Angela D. Hertel, Acting Chief
                                                    D. Hertel,        Chief
                                             Freedom of Information/Privacy Act Unit
                                             FOI/Records Management Section
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Michelle Dillon

From:                           admin@foiaonline.gov
Sent:                           Tuesday, October 29, 2019 1:07 PM
To:                             Michelle Dillon
Subject:                        FOIA Appeal DOJ-AP-2020-000540 Submitted



This message is to notify you of a new appeal submission to the FOIAonline application. Appeal information is
as follows:

      Appeal Tracking Number: DOJ-AP-2020-000540
      Request Tracking Number: 19-00600-F
      Requester Name: Michelle Dillon
      Date Submitted: 10/29/2019
      Appeal Status: Submitted
      Description: HRDC submitted a revised request via email to DEA on July 11, 2019. Our revised request
       limited document production to records dated 2012 onward to eliminate the need to retrieve
       archival materials, a process that had been identified by DEA as burdensome. We additionally
       agreed to waive the $1,000 threshold for all relevant cases—another significant burden claimed
       by DEA—and internally review the payment amounts to identify responsive cases.

       On October 21, 2019, DEA responded to HRDC’s revised request. The agency’s response letter
       indicated that the revised search estimate was 250 hours, a reduction of just 18% from the
       original estimate. The agency indicated that the revised request was “overly broad and
       burdensome” and that “no further action will be initiated on this request until we are in receipt of
       a reasonable description of records sought.”

       HRDC appeals this response from DEA on the grounds that our revised request should be fully
       sufficient to allow DEA to identify responsive documents. DEA should have reasonable
       capabilities to identify whether or not a payment was made for lawsuits and tort claims, even if
       the agency’s system may not sort cases by payment amounts. Although DEA has claimed that
       our request is overly broad, it is not possible to reformulate a response that would identify
       records more narrowly than previously requested, which is a request for electronically available
       lawsuits and tort claims against DEA for which payments were distributed to plaintiffs.

       We ask that DEA resume processing our revised request.




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                                                               U.S. Department of Justice
         Office of                                             Office of Information Policy
                                                               Sixth Floor
                                                               441 G Street, NW
                                                               Washington, DC 20530-0001

Telephone: (202) 514-3642




Michelle Dillon
Human Rights Defense Center
Suite 1605
720 3rd Avenue                                                 Re:      Appeal No. DOJ-AP-2020-000540
Seattle, WA 98104                                                       Request No. 19-00600-F
mdillon@prisonlegalnews.com                                             RNB:JKD

VIA: FOIAonline

Dear Michelle Dillon:

        You appealed from the action of the Drug Enforcement Administration (DEA) on your
revised Freedom of Information Act request for access to all litigation against the DEA and/or its
employees or agents where the agency and/or its insurers paid $1,000 or more to resolve the
claims, from 2012 to the present.1 I note that your appeal concerns DEA's full denial of your
request.

        After carefully considering your appeal, I am affirming, on partly modified grounds,
DEA's action on your request. A proper FOIA request for records must reasonably describe the
records sought. See 5 U.S.C. § 552(a)(3)(A); see also 28 C.F.R. § 16.3(b)(2019). DEA
informed you that you did not reasonably describe the subject of your request. Your request is
not reasonably described because you did not characterize the records sought in such a way that
they could be located with a reasonable amount of effort. In order to conduct a search for
responsive records, DEA would have to individually search thousands of litigation files.
Additionally, DEA's electronic tracking system for lawsuits and tort claims is not searchable by
whether a payment was made or the amount of payment.

        If you would like to discuss with DEA how to formulate your request to reasonably
describe the records sought, you may contact DEA's FOIA Public Liaison at (202) 307-4264.
You may wish to submit a new, reasonably described request directly to DEA.

       Please be advised that this Office's decision was made only after a full review of this
matter. Your appeal was assigned to an attorney with this Office who thoroughly reviewed and
analyzed your appeal, your underlying request, and the action of DEA in response to your
request.

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 This Office notes that you agreed to waive the $1,000 threshold from the original request if it would expedite the
process of your request. Please be advised that DEA determined that it would not.
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       If you are dissatisfied with my action on your appeal, the FOIA permits you to file a
lawsuit in federal district court in accordance with 5 U.S.C. § 552(a)(4)(B).

         For your information, the Office of Government Information Services (OGIS) offers
mediation services to resolve disputes between FOIA requesters and Federal agencies as a non-
exclusive alternative to litigation. Using OGIS services does not affect your right to pursue
litigation. The contact information for OGIS is as follows: Office of Government Information
Services, National Archives and Records Administration, Room 2510, 8601 Adelphi Road,
College Park, Maryland 20740-6001; email at ogis@nara.gov; telephone at 202-741-5770; toll
free at 1-877-684-6448; or facsimile at 202-741-5769. If you have any questions regarding the
action this Office has taken on your appeal, you may contact this Office’s FOIA Public Liaison
for your appeal. Specifically, you may speak with the undersigned agency official by calling
(202) 514-3642.

                                                    Sincerely,
                                                                                              1/31/2020



                                                      X
                                                              _w
                                                        -/5-il‘=.
                                                      Matthew W. Hurd
                                                      Acting Chief, Administrative Appeals Staff
                                                      Signed by: MATTHEW HURD
